Case 6:13-cr-00013-JCB-JDL           Document 434       Filed 03/03/17     Page 1 of 1 PageID #:
                                            1372



                         IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION


UNITED STATES OF AMERICA,                          §
                                                   §
                                                   § CASE NUMBER 6:13-CR-00013-RC
v.                                                 §
                                                   §
                                                   §
DANA LEE GRAY                                      §
                                                   §


                   ORDER ADOPTING REPORT AND RECOMMENDATION OF
                          UNITED STATES MAGISTRATE JUDGE

          The above entitled and numbered criminal action was referred to United States

Magistrate Judge John D. Love pursuant to 28 U.S.C. § 636(b)(3).                 The Report and

Recommendation of Magistrate Judge John D. Love which contains his proposed findings of fact

and recommendations for the disposition of such action has been presented for consideration.

The parties have waived their objections to the Report and Recommendation.

          The Court is of the opinion that the findings and conclusions of the Magistrate Judge are

correct. Therefore, the Court hereby adopts the Report and Recommendation of the United

States Magistrate Judge as the findings and conclusions of this Court and ORDERS that

Defendant Dana Lee Gray be committed to the custody of the Bureau of Prisons for a term of

imprisonment of 8 months with no supervised release to follow. The Court RECOMMENDS

that Defendant undergo substance abuse treatment and rehabilitative treatment.          The Court

FURTHER RECOMMENDS that the place of confinement be Bryan, Texas in order to

facilitate family visitation and substance abuse treatment.

     So Ordered and Signed
     Mar 3, 2017
